          Case 8-19-76260-ast                               Doc 201                Filed 10/25/19                      Entered 10/25/19 14:32:35



                                                                                      SCHUYLER G. CARROLL
                                                                                      Partner

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                                                                                      Via ECF


October 25, 2019


Hon. Alan S. Trust
U.S. Bankruptcy Judge
U.S. Bankruptcy Court
Eastern District of New York
Alfonse M. D’Amato Federal Courthouse
290 Federal Plaza
Central Islip, New York 11722

Re:        In re: Absolut Facilities Management, LLC, et al., No. 19-76260 (AST)
           (Jointly Administered)

Dear Judge Trust:

We represent Absolut Facilities Management, LLC and its debtor affiliates, as debtors and
debtors-in-possession (the “Debtors”) in the above-referenced chapter 11 cases.

PLEASE TAKE NOTICE that the matters set forth below scheduled for a hearing on November
19, 2019 at 2:00 p.m. (Eastern Time) have been adjourned to November 20, 2019 at 2:00 p.m.
(Eastern Time) before the Honorable Alan S. Trust, United States Bankruptcy Judge of the United
States Bankruptcy Court for the Eastern District of New York, Alfonse M. D’Amato Courthouse,
290 Federal Plaza, Central Islip, New York 11722, Courtroom 960.

                           The Debtors’ Application for Entry of Order Authorizing the Employment
                            and Retention of Loeb & Loeb LLP as Counsel to the Debtors Nunc Pro
                            Tunc to Petition Date [dkt item 195]; and

                           The Debtors’ Motion for Entry of Order Authorizing the Retention and
                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                            Business [dkt item 197].

PLEASE TAKE FURTHER NOTICE that objections to the matters set forth above shall be filed
and served so as to be actually received, on or before November 13, 2019.

PLEASE TAKE FURTHER NOTICE that if anyone would like to receive copies of the matters set
forth above, (a) they may access such documents online from either the Bankruptcy Court’s
electronic    case     filing  system     located     at  http://www.nyeb.uscourts.gov/   or
https://cases.primeclerk.com/absolutcare/, or (b) they may contact Schuyler G. Carroll, Esq.,
Daniel Besikof, Esq. or Noah Weingarten, Esq. at Loeb & Loeb LLP, 345 Park Avenue, New York,

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For the United States offices, a limited liability partnership including professional corporations. For Hong Kong office, a limited liability partnership.
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New York 10154, by telephone at (212) 407-4000 or by e-mail at scarroll@loeb.com;
dbesikof@loeb.com; nweingarten@loeb.com.

Sincerely,



Schuyler G. Carroll
Partner




                                                                                18310176
